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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION



UNITED STATES OF AMERICA


V.                                   CASE NO. 4:11CR00214-1 JMM


ROBERT ROGERS, aka BAM BAM


                                      ORDER

       Pending before the Court is Defendant’s Motion for review of detention order. After

listening to a recording of the hearing held before Magistrate Judge Joe J. Volpe on October 14,

2011, reviewing the pleadings and hearing argument of counsel on November 21, 2011, the

Court finds that the motion should be denied (#17).

       Defendant’s motion seeks revocation of Magistrate Judge Volpe’s October 14, 2011

Detention Order pursuant to The Bail Reform Act of 1984 and United States v. Maull, 773 F.2d

1479 (8th Cir. 1985) (en banc). Magistrate Judge Volpe detained Defendant finding that (1) the

United States had carried its burden of proving that the Defendant was an unreasonable risk to

the community and (2) no set of release conditions could be imposed to reasonably assure public

safety. See Case No. 4:11CR00214-1 JMM, Doc. #18.

       This Court reviews a Magistrate Judge's detention order de novo. 18 U.S.C. § 3145(b);

United States v. Maull, 773 F.2d 1479, 1481 (8th Cir. 1985) (en banc). When the indictment

charges a violation of the Controlled Substances Act which carries a maximum term of



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imprisonment of ten years or more there is a rebuttable presumption that “no condition or

combination of conditions will reasonably assure the appearance of the person as required and

the safety of the community.” 18 U.S.C. § 3142(e)(3)(A).

        Here, the rebuttable presumption applies as Defendant is charged in Counts Five and

Seven with Attempt to Possess with Intent to Distribute cocaine, a Schedule II controlled

substance, a violation of 21 U.S.C. §841(a) (1), in violation of 21 U.S.C. §846: and Count Six

with Aiding and Abetting the Attempt to Possess with the Intent to Distribute cocaine, a

Schedule II controlled substance, a violation of 21 U.S.C.§841(a)(1), in violation of 21 U.S.C.

§846 and 2. The defendant has the “burden of production . . . to rebut that presumption by

coming forward with evidence he does not pose a danger to the community or a risk of flight.”

United States v. Abad, 350 F.3d 793, 797 (8th Cir.2003) (quoting United States v. Mercedes, 254

F.3d 433, 436 (2d Cir.2001)). Once the burden of production is met, “the presumption favoring

detention does not disappear entirely, but remains a factor to be considered among those weighed

by the district court.” Id.

        When determining if there are conditions of release which will reasonably assure the

appearance of a defendant at trial and the safety of the community, the Court considers the

following: (1) the nature and circumstances of the crime; (2) the weight of the evidence against

the defendant; (3) the history and characteristics of the defendant, including mental condition,

family ties, employment, community ties, and past conduct; and (4) the nature and seriousness of

the danger to the community or to an individual that would be posed by the person’s release. See

18 U.S.C. § 3142(g).




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       The Defendant is charged with a serious crime involving both drugs and the Defendant

using his law enforcement status in order to assist a drug trafficker. See § 3142(g)(1). Based

upon the testimony at the October 14, 2011 hearing, the strong weight of the evidence including

recorded audio and video is against the Defendant. See § 3142(g)(2)

       Defendant’s “history and characteristic” also support detention. See 18 U.S.C. §

3142(g)(3). As the Defendant has been placed on administrative leave without pay, he has no

gainful employment. Further, the Defendant has been diagnosed with post-traumatic stress

disorder and depression and evidence has been presented that the Defendant has attempted

suicide on two occasions and has acted violently causing injuries to his girlfriend, Margaret Koss.

Although Defendant contends that Ms. Koss would be willing to serve as a third-party custodian,

the evidence presented of the Defendant’s mental health history and history of violence does not

lend itself to Ms. Koss being a third-party custodian.

       The Court finds by clear and convincing evidence that the Defendant is a danger to the

community and that there are no conditions that adequately mitigate these concerns. The Court

therefore concludes that “no condition or combination of conditions will reasonably assure the

appearance of [Defendant] as required and the safety of any other person and the community.” 18

U.S.C. § 3142(e).

       IT IS SO ORDERED THIS 28th day of November, 2011.




                                                         James M. Moody
                                                         United States District Judge




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